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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                HUNTINGTON DIVISION

Jonathan R., minor, by Next Friend, Sarah               )
DIXON, et al.,                                          )
                                                        )
                                                        )
                                Plaintiffs,             )      Class Action
                                                        )      3:19-cv-00710
v.                                                      )
                                                        )
Jim JUSTICE, in his official capacity as the            )
Governor of West Virginia, et al.,                      )
                                                        )
                                                        )
                                Defendants.             )


                          PLAINTIFFS’ MOTION FOR SANCTIONS

         Plaintiffs file this Motion for Sanctions pursuant to Rule 37(e) of the Federal Rules of Civil

Procedure. The grounds for relief are set forth in the memorandum of law filed contemporaneously

herewith.

         WHEREFORE, Plaintiffs respectfully request that the Court grant Plaintiffs the relief

described in the accompanying memorandum of law.



                                                        Respectfully submitted,


                                                        /s/ Marcia Robinson Lowry
                                                        Marcia R. Lowry, admitted pro hac vice
                                                        Julia Tebor, admitted pro hac vice
                                                        Jonathan Borle, admitted pro hac vice
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